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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

  UNITED STATES OF AMERICA,
               Plaintiff,                      CRIMINAL NO. 21-20405
                                               HONORABLE MATTHEW F. LEITMAN
                 v.

  NOE GARZA,
                 Defendant.
  ________________________________________/

       SUPPLEMENTAL BRIEF IN SUPPORT OF DEFENDANT NOE GARZA’S
               MOTION TO SUPPRESS PHYSICAL EVIDENCE

  NOW COMES the Defendant, NOE GARZA (“Defendant GARZA”), by and through

  standby-by counsel, CHARLES LONGSTREET, II, per this Honorable Court’s invitation

  at the February 9, 2022, Evidentiary Hearing respectfully submit the following

  Supplemental Brief in support of their Motion to Suppress Physical Evidence filed with

  the court on September 7, 2021, ECF Nos 15. As the hearing made clear, Defendant’s

  initial position that Defendant Garza was stopped, arrested, and searched without

  probable case, in direct violation of his Fourth Amendment rights against unreasonable

  search and seizure is correct. In addition, the government was unable to provide a valid

  exception to the Fourth Amendment’s search warrant requirement that would permit

  suppress of the evidence.


  I.     THE PHYSICAL EVIDENCE SHOULD BE SUPPRESSED BECAUSE THE
         OFFICERS LACKED PROBABLE CAUSE TO ARREST DEFENDANT AND
         SEARCH DEFENDANT’S VEHICLE

         The Defendant’s Opening Brief raised two Fourth Amendment claims: (1) that the

  physical evidence should be suppressed because there was no probable cause to believe

  that Defendant Garza was engaged in criminal activity and (2) the evidence should be
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  suppressed because it was seized subject to an unlawful arrest, also lacking in probable

  cause. These issues were further addressed during the Evidentiary Hearings on December

  12, 2021, and February 9, 2022.

         The probability of criminal activity is assessed under a reasonableness standard

  based on “an examination of all facts and circumstances within an officer's knowledge at

  the time of an arrest.” Estate of Dietrich v. Burrows, 167 F.3d 1007, 1012 (6th

  Cir.1999); see also Hunter v. Bryant, 502 U.S. 224, 228 (1991). It is not necessary that an

  officer provide evidence sufficient to establish guilt, however, an officer’s good faith

  alone is not enough to establish probable cause. Brinegar at 169. Instead, probable cause

  exists “if the facts and circumstances known to the officer warrant a prudent man in

  believing that the offense has been committed.” Henry at 102 citing Carroll v. United

  States, 267 U.S. 132, 156 (1925).

         Given the facts and circumstances known to Officer Smith and Sergeant Johnson

  at the time of the arrest, there was insufficient probable cause to believe that Defendant

  Garza was engaged in criminal activity. First, the suspect in question was not observed

  concealing merchandise and was simply suspected by loss prevention of doing so. When

  asked if he was told this by the Meijer staff, Officer Smith replied, “That information was

  not relayed to me.” Transcript of December 21, 2021, Evidentiary Hearing [hereinafter

  “T 12/21/21”] Pg. 24 Ln 3. However, Officer Smith did confirm that the loss prevention

  report said “that ‘Sergeant Johnson was told by Ms. Montpas that they did not have

  concealment of the items.’” Transcript of Feb. 9, 2022, Evidentiary Hearing [hereinafter

  “T 2/9/22”], Pg. 11 Ln 22-23. Officer Smith testified: “ Sergeant Johnson and I walked

  with Ms. Montpas toward the front of the store” T 12/21/21, Pg. 22 Ln 14-16 and that he




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  and Sergeant Johnson “exited the store through the west doors and walked in the

  direction that was relayed to us that the suspect went” Id. Pg. 23 Ln 16-17. Even if this

  information was not relayed directly to Officer Smith, it was given to Sgt. Johnson and

  yet both continued to approach the vehicle when no loss prevention staff had seen

  merchandise being concealed.

     Second, Defendant Garza, by Officer Smith’s own admission, was not seen inside the

  store and did not match the description of the suspect provided by the Meijer staff.

  Officer Smith testified that “Mr. Garza was not in the store, no.” T 2/9/22, Pg. 14 Ln 22.

  He later reiterated that “[Garza] was not the person in the store.” Id. Pg. 16 Ln 15-16.

  When asked if Defendant Garza matched the description of the suspect form loss

  prevention, he responded “no.” T 2/9/22, Pg. 16, Ln 9. Furthermore, despite testifying to

  his previous knowledge and experience of retail fraud suspects having a lookout in the

  parking lot (See T 12/21/21, Pg.19 Ln 12 -Pg. 20 Ln. 1), when asked if he had any

  indication or reason to believe that Defendant Garza was acting as a lookout, he

  responded that he “ha[d] no information of that.” T 2/9/22, Pg. 17 Ln 21.

     The only information the officers had was that a white male that was possibly

  suspected of theft had entered a White Grand Prix, and it was with this very limited

  information that they arrested Defendant Garza, who did not match the description, was

  never outside of his vehicle, inside the store, or acting in such a way consistent with a

  retail theft lookout. Defendant Garza was simply the “only one person that [Officer

  Smith] observed” when he approached the vehicle. T 12/21/21 Pg. 29 Ln 11-13. Absent

  any further investigation or independent information, the facts, and circumstances here

  are insufficient to establish probable cause of a crime. Further, Officer Smith’s own




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  testimony further supported that information provided was unrelated to Defendant Garza

  and failed to produce any reasonable justification of probable cause that Defendant Garza

  himself was in any way involved in the commission of any crime.

           Under these circumstances, the arrest, and subsequent search incident to arrest, of

  Defendant Garza was conducted unlawfully and without the requisite probable cause, in

  direct violation of Defendant Garza’s Fourth Amendment rights.

  II.      THE AUTOMOBILE EXCEPTION TO THE WARRANT REQUIREMENT
           DOES NOT APPLY BECAUSE THERE WAS NO PROBABLE CAUSE TO
           BELIEVE THAT EVIDENCE OF A CRIME WOULD BE FOUND WITHIN
           THE VEHICLE

        The Fourth Amendment generally requires police to obtain a warrant prior to

  searching property. U.S. CONST. amend. IV. There are well-recognized exceptions to

  this requirement, however, one being the “automobile exception.” California v. Acevedo,

  500 U.S. 565, 578 (1991). While the exception is broad, there are some restrictions. It has

  long been held that to conduct a warrantless search of a vehicle, officers must “have

  ‘reasonable or probable cause to believe that they will find the instrumentality of a crime

  or evidence pertaining to a crime before they begin their warrantless search.” Dyke v.

  Taylor Implement Mfg. Co., 391 U.S. 216, 222 (1968). Probable cause for a search exists

  when “there is a fair probability that an officer will find contraband or evidence of illegal

  activity at a specified location based on the totality of the circumstances.” Illinois v.

  Gates, 462 U.S. 213, 238 (1983).

        Courts have held that “the right to search and the validity of the seizure are not

  dependent on the right to arrest. They are dependent on the reasonable cause the seizing

  officer has for belief that the contents of the automobile offend against the law.” United

  States v. Carrol, 267 U.S. 132, 158-159 (1925). In the case at hand, absent the unlawful



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  arrest of Defendant Garza, Officer Smith would not have had any reason to search his

  vehicle. For the reasons previously stated above, Officer Smith’s testimony failed to

  establish probable cause linking Defendant Garza a crime, let alone the suspected theft in

  question. Prior to the unlawful search of Defendant Garza’s person, on which Officer

  Smith found Suboxone tablets, the facts and circumstances would not have led officers to

  believe that contraband or evidence would be found within the vehicle. Again, the search

  was carried out based on vague information regarding a possible theft, where the officers

  arrested the first person they encountered in a suspected vehicle without any additional

  investigation or inquiry to confirm Defendant Garza’s identity or involvement. It was not

  until after said unlawful arrest and search occurred that the officers potentially

  established probable cause sufficient to justify a warrantless search under the automobile

  exception.

  III.      THE SECOND INVENTORY SEARCH WAS UNLAWFUL AND CARRRIED
            OUT IN VIOLATION OF THE FOURTH AMENDMENT

         Another exception to the warrant requirement is an inventory search. An inventory

  search is “a recognized exception… where the police are in lawful custody of a vehicle,

  they may conduct an inventory search to catalogue its contents pursuant to standardized

  criteria.” United States v. Alexander, 954 F.3d 910, 915 (2020), citing Florida v. Wells,

  495 U.S. 1, 4 (1990). The purpose of an inventory search is to “protect an owner’s

  property while it is in the custody of the police, to insure against claims of lost, stolen, or

  vandalized property, and to guard the police from danger.” Colorado v. Bertine, 479 U.S.

  367, 371-74 (1987). There are “no temporal or numerical limitations on inventory

  searches.” United States v. Dowl, 229 F. Supp. 3d 603, 611 (2017). However, “when a

  vehicle is searched solely for the purpose of investigating criminal conduct that validity



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  of the search will be dependent on the application of the probable cause and warrant

  requirements of the Fourth Amendment.” Id. citing Bertine, supra at 371. The inventory

  search exception does not apply in the case at hand because the vehicle was not in lawful

  custody. Even if this Honorable Court finds the officers gained legal custody of the

  vehicle, the second inventory search was conducted solely for investigative purposes and

  thus required a warrant.

     A. The vehicle was not in lawful police custody

     A warrantless inventory search may be conducted only in situations where police

  have “lawfully take[n] custody of the vehicle.” United States v. Hockenberry, 730 F.3d

  645, 658 (2013). Officer Smith testified that “any time [he has] law enforcement

  interactions with a subject, [he] perform[s] a LIEN, SOS checks, check for license

  statuses, warrants.” T 12/21/21 Pg. 36 Ln 10 – 12. As previously argued in Defendant’s

  Original Brief submitted ECF Nos 15, Officer Smith and Sgt. Johnson had no reasonable

  suspicion or probable cause to believe that Defendant Garza was involved in criminal

  activity, and thus there was no reason for Officer Smith to interact with Defendant Garza

  in a manner that would require a LIEN check, determining that the vehicle was not

  registered. Similarly, while the department’s policy and procedures manual require

  impounding a vehicle to “preserve evidence of a crime” or for “safekeeping following the

  arrest or detention of the driver” (See T 2/9/22, Government Exhibit 20, Pg. 1), because

  there was no lawful arrest or detention of Defendant Garza, his vehicle was not in lawful

  custody.

     B. The second inventory search was conducted for investigatory purposes and
        not in accordance with the department’s policies and procedures regarding
        inventory searches of impounded vehicles




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     If this court finds that the vehicle was correctly impounded and in lawful police

  custody, the inventory search exception still fails with respect to the second inventory

  search at the impound lot, because it was conducted solely to uncover evidence of a

  crime. When carrying out an inventory search, officers must conduct the search

  “according to standard police procedures” and the search must be “sufficiently tailored to

  only produce an inventory.” United States v. Jackson, 682 F.3d 448, 455 (6th Cir. 2012).

  Further, the search should be conducted in good faith and not as pretext for a criminal

  investigation to discover evidence of criminal activity. South Dakota v. Opperman, 428

  U.S. 376 (1976).

     In the case at hand, two inventory searches were conducted. The first search in the

  Meijer parking lot was conducted correctly for cataloguing purposes and was completed

  according to the department’s policies and procedures, which states that “(A) All

  impounded vehicles shall be inventoried by one of the investigating officers… (B) A

  vehicle inventory form shall be completed on each vehicle inventoried by an officer…

  (C) Items of unusual value will be held to protect the owner’s interest.” T 2/9/22,

  Government Exhibit 20, Pgs. 4-5.

     Officer Smith testified that his first inventory search was completed pursuant to

  department policy and that he took inventory of “the vehicle and any areas of the vehicle

  known to contain property.” T 2/9/22 Pg. 24 Ln 21-23. Officer Smith stated that after the

  first search, he had inventoried the everything in the car “as far as [he] knew at the time.”

  Id. Pg. 24, Ln 12. He further testified “the only place that is usually checked in the engine

  compartment, if it is checked at all, is usually the… we call it the air box or where your

  air filter is because that is an area that weapons, contraband drugs have been found in the




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  past.” Id. Pg. 30 Ln 8-12. While it was standard practice to check the air box under the

  hood, as that area of a vehicle has been known to or may contain property, he stated that

  “typically, beyond that, the engine compartment isn’t searched at all” when cataloging

  the contents of a vehicle. Id. Pg. 30, Ln 14-17. As a result, Officer Smith did not search

  the engine compartment when conducting his initial on-scene inventory search and only

  returned to investigate this area of the vehicle later, after receiving information from

  another defendant in this case. Id. Pg. 30 Ln 18-22. In fact, when specifically asked if that

  was his sole purpose, to investigate a tip from an informant regarding a potential firearm,

  he responded “I believe that’s probably a pretext reason.” Id. Pg. 23, Ln 12.

     As such, when conducting this second search, Officer Smith went outside of the

  “standardized criteria” or “established routine” required of a warrantless inventory

  search, veering into “uncanalized discretion”. See Florida v. Wells, 495 U.S. 1, 4 (1990).

  Officer Smith further testified that he chose not to apply for a warrant given time and

  personnel restraints and that he believed this was the most efficient way to search that

  area. Specifically, he stated: “Honestly, it was the most efficient way that I believe that it

  would go is I believe that I had the authority, under the inventory search exception to the

  search warrant rule, to go back and search the engine compartment, because it is not an

  area typically known to contain property, as my department's policy says.” Id. Pg. 26, Ln

  18-23.

     Although his department policy was to inventory areas that may contain property,

  Officer Smith used his own discretion to return to the vehicle and conduct a second,

  warrantless search of an area that was admittedly not regularly inventoried and not

  known to contain property, and that he did so only to investigate information provided by




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  an informant. At this point, the search was no longer sufficiently tailored just to produce

  inventory, but instead was conducted for the sole purpose of efficiently uncovering

  evidence of criminality, which requires probable cause and a search warrant under the

  Fourth Amendment. For these reasons, the warrantless search of Defendant’s vehicle was

  improper and in direct violation of the Fourth Amendment.



         WHEREFORE, Defendant GARZA respectfully requests that this Court grant

  Defendant’s Motion to Suppress Physical Evidence.

                                        Respectfully Submitted,


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  Dated: May 24, 2022




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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


  UNITED STATES OF AMERICA,
               Plaintiff,                        CRIMINAL NO.
                                                 HONORABLE
                 v.

   NOE GARZA,
                     Defendant.
  ________________________________________/


                                      CERTIFICATION

          I hereby certify that the forgoing papers were electronically filed this date, served
  electronically or by mail to the following:

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  Date:                                          By:




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